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 6
                             UNITED STATES DISTRICT COURT
 7
                           WESTERN DISTRICT OF WASHINGTON
 8

 9                                      ) No.
     ALONZO PRICE-HOLT,                 )
10                                      ) COMPLAINT FOR DAMAGES
                Plaintiff,              )
11                                      )
          v.                            )
12   ZSOLT DORNAY AND JESSE THOMAS, THE )
     SEATTLE POLICE DEPARTMENT AND THE )
13   CITY OF SEATTLE, and CHIEF         )
     KATHLEEN O’TOOLE                   )
14                                      )
                Defendants.
15

16

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                                I. NATURE OF ACTION
18
     1.1   Introduction.   This is a civil rights action brought by
19
           Plaintiff   pursuant to 42 U.S.C. Sec. 1983 and the Fourth and
20
           Fourteenth Amendments against the Defendant police officers and
21
           their marital community.   This case arises from claims of
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           assault, excessive force, false arrest, the tort of outrage and
23
           negligence.
24

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 1                                    II.   PARTIES

 2   2.1   Plaintiff Alanzo Priceholt Alanzo Price-Holt is a resident of

 3         King County, Washington.

 4   2.2   Defendants Zsolt Dornay.    Defendants Seattle Police

 5         Department(SPD)   Zsolt Dornay : and Jane Doe whose true name is

 6         unknown are husband and wife and comprise a marital community

 7         under the laws of the State of Washington.     At all times

 8         relevant Zsolt Dornay was employed as law enforcement by the

 9         Seattle Police Department and was acting within the course and

10         scope of his employment with the City of Seattle and under

11         color of law. All of Zsolt Dornay acts alleged herein were

12         taken by for themselves, and by and for the benefit of the City

13         of Seattle and his marital community.

14   2.3   Defendant Jessie Thomas

15         Defendants Seattle Police Department(SPD) Jessie Thomas : and

16         Jane Doe whose true name is unknown are husband and wife and

17         comprise a marital community under the laws of the State of

18         Washington.   At all times relevant Jessie Thomas was employed

19         as law enforcement by the Seattle Police Department and was

20         acting within the course and scope of their employment with the

21         City of Seattle and under color of law. All of Jessie Thomas’s

22         acts alleged herein were taken by themselves, and for the

23         benefit for the City of Seattle and his marital community.

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 1   2.4   Defendant Seattle Police Department:     Defendant Seattle Police

 2         Department (SPD) is responsible for training and supervision of

 3         the officers; it’s employees.    All the police officers listed

 4         in this case were employed by the Seattle Police Department at

 5         all times relevant to this case.

 6   2.5   Defendant City of Seattle.    Defendant City of Seattle (City)

 7         is responsible for the actions and activities of employees of

 8         the Seattle Police Department when SPD employees are acting

 9         within the course and scope of their employment.

10

11   2.6   Defendant Kathleen O’Toole.     Defendant Kathleen O’Toole is the

12      current Seattle Police Chief.    Chief O’Toole was at all times

13      relevant to this case responsible for the training and

14      supervision of Seattle Police Officers.     Additionally, Chief

15      O’Toole is a primary policy maker for the Seattle Police

16      Department and has control over the implementation of formal

17      policies and customs of the Seattle Police Department.

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20                           III. JURISDICTION AND VENUE

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22   3.1   Jurisdiction.   Jurisdiction in this Court is based on the

23         existence of a federal question pursuant to 28 U.S.C. Section §

24         1331 and 1343, in that Plaintiff assert claims for deprivation

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 1         of civil rights under 42 U.S.C. § 1983 for violation of the

 2         Fourth Amendments to the United States Constitution.

 3   3.2   Venue. Venue for this action is appropriate in this Court

 4         because the events giving rise to the claims asserted herein

 5         occurred in the Seattle Division of this district and because

 6         the plaintiff and defendants reside in this district.

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 8                                   IV.   FACTS

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10   4.1   On September 13, 2015 Alonzo Price-Holt was at his apartment

11         when he had a verbal disagreement involving his neighbor.

12   4.2   Seattle Police Officer’s Dornay and Thomas arrived at the scene

13         of the disagreement between Alonzo Price Holt and his neighbor.

14   4.3   After contacting Mr. Price-Holt and his neighbor, both officers

15         found no probable cause to make an arrest of either party.

16   4.4   The Officers later decided that there was a misdemeanor warrant

17         out for the arrest of Alonzo Price-Holt.

18   4.5   Without any explanation or warning, Mr. Price-Holt was

19         Physically taken to the ground by the defendant Officers. He

20         landed on his chest and face. Mr. Price-Holt felt immediate

21         pain and was terrified by the actions of the officers. Mr.

22         Price-Holt had no idea why the police had done this to him.

23   4.7   Mr. Price-Holt was being compliant with the officers at the

24         time that they took him down to the ground.

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 1   4.9   After being taken down to the ground, Mr. Price-Holt was then

 2         handcuffed.

 3   4.10 While being handcuffed, Mr. Price-Holt was subjected to an

 4         unauthorized technique which places strain on the wrists and

 5         shoulders. This strain was compounded due to how tightly the

 6         handcuffs where placed on Mr.Price-Holt.

 7   4.7   Mr.Price-Holt was then taken to the West Precinct of the

 8         Seattle Police Department.

 9   4.8   Once at the West Precinct, Mr. Price-Holt was subjected to

10         further humiliation when his glasses where forcibly removed

11         from his face by Officer Thomas and thrown to the ground

12         causing them to break. Mr. Price-Holt is reliant on his

13         glasses.

14   4.8   While in the holding cell Alonzo Price-Holt was physically

15         assaulted by Officers Dornay and Thomas while Mr. Price-Holt’s

16         hands were handcuffed behind his back. Once again, the

17         Officer’s took Mr. Price-Holt to the ground.

18   4.9   As a result of this incident, Alanzo Price-Holt has suffered

19         significant emotional and physical trauma.

20   4.10 The portion of this incident that occurred at the West Precinct

21         was recorded.

22   4.11 Base upon the false representations of the Defendant officers

23         in this case, Mr. Price-Holt was charged with a felony assault

24         in King County Superior Court.

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 1   4.12 Alonzo Price-Holt had to attend several court dates over a

 2         period of months before the case was ultimately dismissed by

 3         the King County Superior Court.

 4   4.13 The case involving the claimed misdemeanor warrant was also

 5         dismissed.

 6

 7                              V. CAUSES OF ACTION

 8

 9   5.1   First Cause of Action.    The City of Seattle and Seattle Police

10         Department Officer Zsolt Dornay and Jessie Thomas, are liable

11         to the plaintiff for the tort of assault.

12   5.2   Second Cause of Action.    The City of Seattle and Officers

13         Jessie Thomas and Zsolt Dornay are liable to the plaintiff for

14         using excessive force against Alonzo Priceholt.

15   5.3   Third Cause of Action.    The City of Seattle and the defendant

16         officers are liable to plaintiff for false arrest.

17   5.3   Fourth Cause of Action.    The City of Seattle and Officer Zsolt

18         Dornay and Officer Jessie Thomas are liable to the plaintiff

19         for the tort of outrage.

20   5.5   Fifth Cause of Action.    The City of Seattle is liable to the

21         plaintiff for violation of the plaintiff’s civil rights under

22         42 USC Sec. 1983.

23

24   5.6   Sixth Cause of Action.    The City of Seattle and the defendants

25         in this case are liable to the plaintiff for negligence.

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 2                                  VI.REQUEST FOR JURY DEMAND

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 5   The plaintiff, Alonso Price-Holt, formally demands his right for his

 6   case to be heard by a jury.

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 9   WHEREFORE, Plaintiff pray for the following relief:

10         1.      Damages and punitive damages in an amount to be proven at

11                 trial.   Plaintiff seeks punitive damages against all

12                 defendants;

13         2.      For reasonable attorney’s fees and costs; and

14         3.      For such other and further relief as the Court deems just

15                 and equitable.

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17      Dated this 8th day of September 2017,

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19                                         James Bible, WSBA # 33985
                                           Attorney for Plaintiff
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